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UNITED STATES DISTRICT COURT                                DOCUMENT
SOUTHERN DISfRICT OF NEW YORK                           I   ELECTRONICALLY FILED
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 MICHELLE TULINO,                        I             ; , ·It\ rr: FILED:
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             Plaintiff,                  1            15-cv-7106 (JSR)

      -against-                                       MEMORANDUM

 SHAAZAD ALI and THE CITY OF
 NEW YORK,

             Defendants.
L---------------------------
JED S. RAKOFF, U.S.D.J.

     In this    trial    alleging sexual harassment,                      defendants moved

for judgment as a matter of law on certain issues at the close of

the plaintiff's evidence. The Court denied defendants' motions to

dismiss    plaintiff's     claims      for       hostile          work       environment       and

retaliation,    but    granted   the    motion         to     dismiss          the   claim     for

constructive      discharge.1       Additionally,                   the        Court      struck

plaintiff's claim for backpay,           finding that,               in the absence of a

constructive discharge, there was no basis for such damages. This

Memorandum briefly explains the reasons for these rulings.

     The    parties'    familiarity      with         the    procedural            history     and

factual    background of    this    case         is   assumed.         As      relevant      here,




   All of plaintiff's claims arise under New York State            more
specifically, New York City - law. This is because plaintiff, literally
on the eve of trial, dismissed her federal claims. Under these
circumstances, it would have been unreasonable and unfair, both to the
defendants and to the Court, for the Court not to exercise supplemental
jurisdiction and go forward with the trial of the state claims.
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plaintiff Michelle Tulino worked for the City of New York in the

Department of Small Business Services                ( "SBS")    for several years

before resigning in 2014. In 2015, she sued, alleging (among other

causes of action, many of which were previously dismissed by the

Court and others of which she subsequently withdrew) hostile work

environment,      retaliation,    and constructive discharge by the City

and her former supervisor, Shaazad Ali.

       Plaintiff's credibility was very much in issue at trial, but

for    purposes    of   defendants'      motion,      the   Court     construes     the

evidence in the light most favorable to plaintiff. On this view,

plaintiff's evidence at trial, if fully credited by the jury, would

support    the    fol lowing   factual   findings.      Shortly after       Tulino' s

employment with the City began in 2009, Ali                 (who was not yet her

direct    supervisor,    but was    in a      supervisory position),         some    30

years her senior,       struck up an inappropriately close friendship

with her. Ali would discuss with Tulino explicit rumors of sexual

activity occurring in the workplace,                something he concededly did

not do with other employees. Ali repeatedly invited Tulino out for

social events, such as movies or lunch dates, and if she did not

respond quickly or enthusiastically enough,                     he would follow up

with     passive-aggressive      emails.      Ali    also   exercised      excessive

control over Tulino's schedule;            on days when she was working in

the field,       he would repeatedly email and call her,               demanding to

know why she was not in the office.

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       Taking the          evidence most            favorably to plaintiff,              the    jury

could also find that Ali took steps to isolate Tulino and make her

dependent upon him. Tulino testified that Ali told her that female

employees at          SBS were expected to engage                       in sexual    activity to

advance professionally. Ali told Tulino that she could avoid doing

this, but only with his help,                    and he conveyed to her that he was

responsible for all of her promotions and raises. Ali also told

Tulino that other employees thought poorly of her -                                  for example,

he told her that another supervisor had compared her to a prior

employee       who    was        rumored    to   have        engaged      in   sex    for     better

treatment,      a     comparison Tulino understood to mean that                             she was

promiscuous.

       Tulino eventually told Ali                       that his behavior was unwelcome

and unprofessional. He apologized, but kept sending the same kinds

of    emails     previously          complained           of.    After     becoming      Tulino's

supervisor, Ali moved her workspace to a cubicle right outside of

his    own office.          He    also became           jealous    of her      friendship with

another male employee.                   In September of 2014,             and then again         in

November of that year, Ali grabbed Tulino without her consent while

at work, and the second time he tried to kiss her.

       Following the unwanted contact                        in November of 2014,             Tulino

told    Ali     she       would     be     filing       an   EEO    complaint.        Immediately

afterwards, Ali informed her she was being transferred to another

supervisor          and    that      she     would       have      to    surrender      her     work

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Blackberry. Tulino complained that this was retaliatory,                                     and the

City's      EEO     office      opened       an        investigation              into     Ali.     The

investigation        interviewed        some,         but    not    al 1,    of     the    witnesses

Tulino provided,           and ultimately concluded                   that        the    allegations

were unfounded.        During this time,               Tulino's workload was reduced,

although      her     salary         remained         the    same.      Ultimately,           Tulino

resigned.

       Judgment as a matter of law is appropriate when "a party has

been fully heard on an issue during a                             jury trial and the court

finds that a reasonable jury would not have a legally sufficient

evidentiary basis to find for the party on that issue." Fed.                                         R.

Civ.    P   50 (a) (1).      Under    that   standard,             plaintiff's           evidence    is

sufficient to put            the claim of hostile work environment to the

jury. The New York City Human Rights Law, N.Y.C. Admin. Code§ 8-

107, which prohibits sex discrimination in employment, is "broader

and more      remedial"       than     its   federal         or    statewide counterparts.

Williams v. New York City Hous. Auth., 61 A.D.3d 62, 76 (1st Dep't

2009) .     Accordingly,         liability            for    creating         a     hostile       work

environment         exists    under     that      law       whenever        the     ''existence      of

differential treatment" is shown, even if not sufficiently severe

or     pervasive      to      create     federal            liability.        Id.        Plaintiff's

evidence,      if    fully credited by the                  jury,    comfortably satisfies

that standard.




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        Although a closer question, plaintiff's claim of retaliation

al so survives,         as the     jury cou 1 d reasonably find that the city

retaliated against Tulino for engaging in protected activity. The

City Human Rights Law provides that an employer may not "retaliate"

against an employee because the employee has "opposed any practice

forbidden       under    this      chapter."       N.Y.C.    Admin.    Code§        8-107(7).

Filing a formal complaint is not necessary. Tulino's complaints to

Ali    himself    about      his    conduct      could      constitute       "opposition     to

discrimination" within the meaning of this provision. See Mihalik

v.    Credit Agricole Cheuvreux N.A.,                 Inc.,     715 F.3d 102,        115    (2d

Cir.    2013)     (reversing        grant   of      summary      judgment      on   issue    of

retaliation because,            "by implicitly referencing her rejection of

his     sexual     propositions,"           employee         "may     have     opposed      his

discrimination"). Similarly, the employer's retaliatory act "need

not result               in a materially adverse change in the terms and

conditions of         employment," so          long as the acts          are "reasonably

likely to deter a person               from engaging          in protected activity."

N.Y.C. Admin. Code§ 8-107(7)                  A jury could reasonably find that,

by refusing to give Tulino the kind of desirable work assignments

she had previously received, the City engaged in such deterrence.

Finally, although the evidence is slim that these acts were taken

in order to deliberately retaliate against Tulino, New York City

law permits an inference of retaliatory intent when the complained-

of     acts   occur     "a    short     time"       after     the     employee      manifests

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opposition to discrimination. Teran v.                          JetBlue Airways Corp.            132

A.D.3d    493,   494     (1st    Dep't   2015).       Thus,        both     the hostile work

environment and retaliation claims survive.

       The Court reaches a different result, however, as to the claim

for    constructive      discharge,        which          is    governed     by    a   "stricter

standard." La Porta v. Alacra, Inc., 142 A.D.3d 851, 852 (1st Dep't

2016).    Defendants       contend       that       the        standard     for    constructive

discharge    under      the     City Human Rights                Law mirrors       the    federal

standard.    Plaintiff,         however,    accurately              notes       that   the     First

Department "has not yet            ruled as to the contours of a City HRL

constructive discharge claim," and has cautioned that "it should

not be assumed that the standards .                             are the same as have been

set forth for title VII." Simmons-Grant v. Quinn Emanuel Urquhart

&   Sullivan,    LLP,    116 A.D.3d 134,            138 n.1            (1st Dep't 2014).         The

Court finds it unnecessary to resolve this question, however,                                     as

the evidence in this case falls short of any standard articulated

by New York caselaw.

       To prevail on a claim of constructive discharge, the plaintiff

must     prove   that     the     employer          "deliberately           created       working

conditions       so     intolerable,       difficult              or     unpleasant       that     a

reasonable person would have felt compelled to resign." Short v.

Deutsche Bank Securities, Inc., 79 A.D.3d 503, 504 (1st Dep't 2010)

(quoting Mascola v.           City Univ.        of N.Y.,         14 A.D.3d 309,          410    (1st

Dep't 2005)). A reasonable jury could not conclude that either the

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allegedly        inadequate         EEO     investigation           or     the     reduction       in

Tulino's       work      assignments         made     work     so        intolerable       that     a

reasonable person would have no choice but to resign. See La Porta,

142     A.D.3d     at        852   (allegations       that     plaintiff           was   sexually

harassed,      that employer deliberately failed to take action,                                  and

that    plaint 1 ff      feared      further    harassment,             while     sufficient       to

state claims for hostile work environment and retaliation,                                      were

insufficient for constructive discharge); Short, 79 A.D.3d at 504

(fact that plaintiff's work was reassigned and her bonus reduced

did not       establish constructive discharge).                        Nor,     in the Court's

view,    is    there         sufficient     evidence     for        a    reasonable        jury    to

conclude that the City was deliberately attempting to force Tulino

to quit.

        Plaintiff contends that La Porta and Short                               inappropriately

rely on precedent predating substantive amendments to the City HRL

and, thus, were wrongly decided. But it is not this Court's place

to    second-guess           pronouncements      of    state     law by a          state    court,

unless contradicted by a more authoritative source of that law.

Plaintiff has not pointed to any decisions of the New York Court

of Appeals or any Department of the Appellate Division that suggest

plaintiff's evidence here would establish constructive discharge.

Accordingly, the Court will not submit that claim to the jury.

        Finally,        as    previously      noted,     the     Court         determined       that

plaintiff is not entitled to economic damages in the absence of a

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constructive          discharge.       Plaintiff,            relying      on     E.E.O.C.        v.

Bloomberg L.P., 29 F. Supp. 3d 334, 341                        (S.D.N.Y. 2014), contends

that backpay should be an available remedy even where the plaintiff

voluntarily      resigned       in   response           to   discrimination.           The    Court

disagrees. The Bloomberg Court, after noting that the availability

of backpay under          federal      law   in     the      absence     of a    constructive

discharge is an open question in the Second Circuit, held that it

would be inappropriate to categorically bar such damages under the

City HRL.     Id. at 341-42. Rather,               the Court found that the proper

safeguard would be          case-by-case application of                    the        plaintiff's

duty to mitigate damages, which "will often require [the employee]

to stay with her discriminatory employer." Id. at 342.

       The    Court     finds   no     fault       in    the    well-reasoned           Bloomberg

opinion, but it does not help plaintiff. Courts that have allowed

backpay in the absence of constructive discharge have done so in

the    "limited circumstances" where                    an   employee,     as     a    result    of

discrimination, is denied a special or unique position, such that

staying in their existing employment would not alleviate the harm

or    serve   any purpose.       Id.    at     342-43.         That   circumstance           is not

present in this case. For much the same reason that no reasonable

jury    could   find     that   Tulino       was        constructively         discharged,       no

reasonable      jury    could    conclude          that      she   was   excused        from    the

obligation to mitigate her damages by staying                             in her        old    job.

Accordingly,     whether the law categorically bars backpay in such

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circumstances    or   requires    case-by-case    analysis        is     immaterial;

either way, there is no basis for the jury to award backpay here.

     Thus,    plaintiff's   claims    for   hostile    work   environment            and

retaliation will be submitted to the jury. The Court will enter

judgment as a matter of law in favor of defendants on plaintiff's

claim for constructive discharge.           Finally,   there being no basis

for an award of economic damages, the Court will not instruct the

jury on such damages.

     SO ORDERED.



                                                ~U.S.O.J.
Dated:       New York, NY

             February ~' 2019




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